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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA


 M.H. and J.H. on behalf of their                 Civil Action No. 8:21cv00814
 minor child C.H.

                                 Plaintiffs,      AMENDED COMPLAINT

 v.

 OMEGLE.COM LLC

                                 Defendant.
                                                  Jury Trial Demanded


       Plaintiffs M.H. and J.H., on behalf of their minor child C.H., by and

 through their attorneys, Hach Rose Schirripa & Cheverie LLP and Marsh

 Law Firm PLLC, bring this action for damages and other legal and equitable

 relief against Omegle.com LLC (“Omegle” or the “Company”). Plaintiffs allege

 as follows:

                                 INTRODUCTION

       1.      Defendant Omegle operates a website at

 https://www.omegle.com/ (hereinafter, “Omegle.com”) which explicitly invites

 users to “Talk to strangers!”

       2.      C.H. is an 11-year-old girl who used Omegle’s website where she

 met a stranger who sexually victimized and exploited her.
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        3.     The abuse C.H. suffered was preventable, predictable, and only

 occurred because Omegle created a venue which enabled, encouraged, and

 enticed children to be exploited by strangers online.

        4.     Omegle knowingly received value when traffic from “cappers” 1

 flooded its website to commit online child exploitation.

        5.     Omegle knew this was occurring and therefore enabled,

 encouraged, and enticed online child exploitation.

        6.     Omegle’s unfair and deceptive business practices have seriously

 impacted children across the country resulting in children being stalked,

 sexually assaulted, abused, and exploited by strangers.

        7.     Plaintiffs bring claims under federal and state law to obtain

 redress.

                                         PARTIES

        8.     Plaintiffs M.H. and J.H. reside in Morris County, New Jersey.

        9.     Plaintiffs M.H. and J.H. are C.H.’s parents.

        10.    C.H. was born in 2009 and all times relevant to this action was

 eleven years old.




 1A “capper” is an individual who tricks kids into committing a sexual act over live stream
 while screen capturing or recording a video. See New Sextortion Tactics Reported to
 Cybertip.ca. (April 1, 2020). Retrieved May 17, 2021 from
 https://www.cybertip.ca/app/en/ctipalerts.


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       11.   Omegle failed to request verifiable parental consent to collect,

 disclose, or use C.H.’s personally identifiable information including C.H.’s

 geolocation. Neither M.H. nor J.H. ever received direct notice concerning the

 collection, use, and disclosure of C.H.’s data.

       12.   Defendant Omegle.com LLC is a limited liability corporation

 registered in the State of Florida with its principal place of business located

 at 7901 4th Street N, Suite 300, St. Petersburg, Florida 33702.

       13.   Omegle has dramatically grown in popularity since it was

 founded in 2009 by Leif Brooks.

       14.   The Omegle website, which typically gets millions of page views

 per day, experienced a drastic uptick of user activity during the COVID-19

 pandemic.

                          JURISDICTION AND VENUE

       15.   Federal subject matter jurisdiction arises out of diversity of

 citizenship pursuant to 28 U.S.C. § 1332, since this is a civil action where the

 matter in controversy exceeds the sum or value of $75,000 exclusive of

 interest and costs and is between citizens of different states.

       16.   28 U.S.C. § 1367 provides supplemental jurisdiction for Plaintiffs’

 state law claims.

       17.   Federal subject matter jurisdiction is also proper pursuant to 28

 U.S.C. § 1331 because this is a civil action arising under 18 U.S.C. § 2255.


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       18.   Declaratory relief is proper under 28 U.S.C. §§ 2201 and 2202.

       19.   Further, this Court has personal jurisdiction over the Defendant

 because Defendant regularly conducts business in this District and/or under

 the stream of commerce doctrine by causing its products and services to be

 disseminated in this District, including its website used by C.H.

       20.   Venue is proper pursuant to 28 U.S.C. § 1391(b)(1) and (2)

 because (i) this is a civil action brought in the judicial district where the

 above-named Defendant resides and (ii) a substantial part of the events or

 omissions giving rise to the Plaintiffs’ claims occurred in this judicial district.

                         SUBSTANTIVE ALLEGATIONS

    COPPA Prohibits the Collection of Children’s Personally Identifiable
           Information Without Verifiable Parental Content

       21.   Recognizing the vulnerability of children in the internet age, in

 1999 Congress enacted the Children’s Online Privacy Act (“COPPA”). See 16

 U.S.C. §§ 6501-6505. COPPA’s express goal is to protect children’s online

 privacy. Under COPPA, developers of child-focused apps and websites cannot

 lawfully obtain the personally identifiable information of children under 13

 years of age without first obtaining verifiable consent from their parents.

       22.   COPPA applies to any operator of a commercial website or online

 service that is directed to children and that: (a) collects, uses, and/or discloses

 personally identifiable information of children, or (b) on whose behalf such



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 information is collected or maintained. Under COPPA, personally identifiable

 information is “collected or maintained on behalf of an operator…[t]he

 operator benefits by allowing another person to collect personally identifiable

 information directly from users of” an online service. 16 C.F.R. 312.2.

 Further, COPPA applies to any operator of a commercial website or online

 service that has actual knowledge that it collects, uses, and/or discloses

 personally identifiable information from children.

       23.   Under COPPA, “personally identifiable information” includes

 information such as names, email addresses, and social security numbers.

 COPPA’s broad definition of “personally identifiable information” is as

 follows: “individually identifiable information about an individual collected

 online,” which includes (1) a first and last name; (2) a physical address

 including street name and name of a city or town; (3) online contact

 information (separately defined as “an email address or any other

 substantially similar identifier that permits direct contact with a person

 online”); (4) a screen name or user name; (5) telephone number; (6) social

 security number; (7) a media file containing a child’s image or voice; (8)

 geolocation information sufficient to identify street name and name of a city

 or town; (9) a “persistent identifier that can be used to recognize a user over

 time and across different Web sites or online services” (including but not

 limited to a customer number held in a cookie, an Internet Protocol (IP)


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 address, a processor or device serial number, or unique device identifier´);

 and (10) any information concerning the child or the child’s parents that the

 operator collects then combines with an identifier.

       24.   In order to lawfully collect, use, or disclose personally identifiable

 information, COPPA requires that an operator meet specific requirements,

 including each of the following:

             a.    Posting a privacy policy on its website or online service

                   providing clear, understandable, and complete notice of its

                   information practices, including what information the

                   website operator collets from children online, how it uses

                   such information, its disclosure practices for such

                   information, and other specific disclosures as set forth in

                   the Rule;

             b.    Providing clear, understandable, and complete notice of its

                   information practices, including specific disclosures,

                   directly to parents; and

             c.    Obtaining verifiable parental consent prior to collecting,

                   using, and/or disclosing personally identifiable information

                   from children.

       25.   Under COPPA, “[o]btaining verifiable consent means making any

 reasonable effort (taking into consideration available technology) to ensure


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 that before personally identifiable information is collected from a child, a

 parent of the child…[r]eceives notice of the operator’s personally identifiable

 information collection, use and disclosure practices; and [a]uthorizes any

 collection, use, and/or disclosure of the personally identifiable information.”

 16 C.F.R. 312.2.

       26.   The FTC recently clarified acceptable methods for obtaining

 verifiable parent consent, include:

             a.     Providing a form for parents to sign and return;

             b.     Requiring the use of a credit/card online payment that

                    provides notification of each transaction;

             c.     Connecting to trained personnel via video conference;

             d.     Calling a staffed toll-free number;

             e.     Asking knowledge based questions; or

             f.     Verifying a photo-ID from the parent compared to a second

                    photo using facial recognition technology.

                     Omegle is An Operator Under COPPA

       27.   Omegle is an “operator” pursuant to COPPA. Specifically,

 COPPA defines an “operator,” in pertinent part, as: “any person who operates

 a Web site located on the Internet or an online service and who collects or

 maintains personally identifiable information from or about the users of or

 visitors to such Web site or online service, or on whose behalf such


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 information is collected or maintained, or offers products or services for sale

 through that Web site or online service, where such Web site or online service

 is operated for commercial purposes involving commerce among the several

 States or with 1 or more foreign nations; in any territory of the United States

 or in the District of Columbia, or between any such territory and another

 such territory or any State or foreign nation; or between the District of

 Columbia and any State, territory, or foreign nation.” 16 C.F.R. 312.2.

       28.    Defendant operated its website entirely online. Indeed, without a

 connection to the internet, Plaintiff could never have accessed Omegle’s

 service.

       29.    In 1996, Congress passed the Communications Decency Act of

 1996 (“CDA of 1996”) which included Section 230 (“CDA 230”). 2 Congress

 intended the CDA of 1996 to accomplish several things, including: (1) to

 promote the free exchange of information and ideas over the internet and

 (2) to encourage voluntary monitoring for offensive or obscene material. 3




 247 U.S.C. § 230.
 3The CDA does not immunize an interactive computer service provider that creates or
 develops the content at issue. See e-ventures Worldwide, LLC v. Google, Inc., No.
 214CV646FTMPAMCM, 2017 WL 2210029, at *3 (M.D. Fla. Feb. 8, 2017) citing Fair Hous.
 Council of San Fernando Valley v. Roommates.com, LLC, 521 F.3d 1157, at 1162 (9th Cir.
 2008).


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                        Omegle Violated FOSTA / SESTA

       30.   In 2018, in a direct response to online platforms knowingly

 allowing human trafficking to occur and both promoting and profiting from it,

 Congress passed a bill known as Fight Online Sex Trafficking Act (“FOSTA”)

 and Stop Enabling Sex Traffickers Act (“SESTA”) (collectively,

 “FOSTA/SESTA”). As part of this amendment to CDA 230, Congress stated

 “It is the sense of Congress that –

             (1)   Section 230 of the Communications Act of 1934 (47 U.S.C.

                   § 230; commonly known as the ‘Communications Decency

                   Act of 1996’) was never intended to provide legal protection

                   to websites that unlawfully promote and facilitate

                   prostitution and websites that facilitate traffickers in

                   advertising the sale of unlawful sex acts with sex

                   trafficking victims;

             (2)   Websites that promote and facilitate prostitution have been

                   reckless in allowing the sale of sex trafficking victims and

                   have done nothing to prevent the trafficking of children and

                   victims of force, fraud, and coercion; and

             (3)   Clarification of such section is warranted to ensure that

                   such section does not provide such protection to such

                   websites.


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        31.    Defendant has benefited financially and received something of

 value, including increased web traffic, from participation in one or more sex

 trafficking ventures by allowing Omegle.com to become a safe haven and a

 refuge for child predators, sex abusers, human traffickers, and child

 pornographers.

        32.    Omegle.com is a focused topic of discussion by child predators

 and child pornographers who trade and disseminate child sexual abuse

 material, “capping how-tos,” 4 tips for how to create and produce child sex

 abuse videos on Omegle.com, advice on how to share and distribute child sex

 abuse material with impunity, and other perverse pursuits.

                                  Omegle’s Operations

        33.    Omegle is a website that enables individuals to communicate

 with random individuals across the world anonymously via text and video.

        34.    Specifically, individuals access Omegle.com using a webcam and

 microphone and Omegle matches them with another stranger. Omegle pairs



 4 “Random girl comes on webcam to meet new people and is persuaded by random people
 (competing for points) to flash various body parts, not knowing that screen captures of video
 will surface on the world wide web within 30 seconds. The video will be traded on websites
 by hundreds of people and streamed. Videos are traded by collectors. Blackmailers get hold
 of the videos and information on the girls then hunt them and use the videos as leverage to
 get the girls under their control and command eg forced to do sex shows. Groups of heroes
 or ‘white knights’ who may also be pedophiles run around trying to save the girls from the
 blackmailing pedophiles. The Cappers and heroes fight to add the girls to their own
 collection.” Urban Dictionary, Definition 10
 https://www.urbandictionary.com/define.php?term=Capping&page=2 (visited May 17,
 2021).


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 users randomly and in some cases Omegle matches users according to

 similarities in conversations and subjects.

       35.   The Omegle website designates users as “You” or “Stranger 1” or

 “Stranger 2.”

       36.   To access Omegle.com, a user simply clicks on “text” or “video”

 under the words “start chatting.” The user is then immediately placed in a

 chat with a stranger.

       37.   Omegle.com does not require any age verification or

 authentication. There is nothing preventing a minor under the age of thirteen

 from accessing the website.

       38.   Omegle.com is vulnerable to hacking. As a result, a user can grab

 screenshots of previous conversations and then utilize that data to obtain

 another user’s geographic location.

    Omegle’s Infamy and Synonymy with Online Child Sexual Exploitation

       39.   Since 2016, the use of Omegle’s website by predators has become

 known to the public and to the Company itself.

       40.   When vigilante activists became aware of Omegle’s repeated use

 by child predators, they recorded videos of themselves attempting to catch

 these predators in the act.

       41.   Further, Omegle has been mentioned in numerous criminal cases

 across the country after individuals were arrested for possessing and


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 promoting child pornography. For example, in April 2016, Ammar Butaleb

 was arrested in Pittsburgh, Pennsylvania after he received, viewed, and

 downloaded child pornography through Omegle. 5 In December 2018, Robert

 Alexander Kusma of in Scranton, Pennsylvania was charged with the sexual

 assault of a minor under sixteen years of age after first meeting and

 grooming a girl on Omegle. 6 In April 2019, in the state of New Jersey,

 twenty-four sexual predators were arrested in what was dubbed “Operation

 Home Alone” for using social media platforms, including Omegle, to lure

 children for sex. 7 In February 2020, Dalton Matthew Bates was arrested in

 Kentucky on thousands of counts of child pornography possession across

 multiple social media platforms and applications including Omegle. 8 In July

 2020 in Morris County, New Jersey, Robert Murphy pleaded guilty to

 endangering the welfare of a child after he tried to set up an in-person

 meeting for sex with an eleven-year-old girl he met on Omegle. 9




 5 See https://pittnews.com/article/106942/news/student-arrested-for-child-pornography/
 6 See https://www.ydr.com/story/news/crime/2018/12/18/scranton-man-accused-sexually-
 assaulting-york-county-girl-he-met-internet/2350851002/
 7 See https://www.foxnews.com/us/21-alleged-child-sexual-predators-arrested
 8 See https://www.themountaineagle.com/articles/band-teacher-held-in-porn-case-talked-

 about-temptation/
 9 See https://www.dailyrecord.com/story/news/2020/04/29/complaint-nj-shore-teen-drove-

 morris-plains-sex-girl/3047222001/


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       42.   Upon information and belief, Omegle has been contacted by

 individuals representing these exploited children or law enforcement

 investigating crimes committed in these cases.

       43.   The countless allegations involving Omegle by those who target

 children for sexual abuse, pornography, and exploitation, the resulting media

 coverage, and the arrests and convictions of predators using Omegle.com to

 exploit victims indicates that Omegle has full knowledge of the extent to

 which its website is used to sexually target, groom, exploit, and abuse

 children like C.H.

       44.   Omegle advertises itself as a place to “Talk to strangers!”

       45.   Omegle designed Omegle.com to encourage users to “talk to

 strangers” and made this aspect of Omegle.com freely available and

 unrestricted to child users.

       46.   Omegle manufactured a product which caters to child predators

 and receives value for the intended use of Omegle.com.

       47.   Omegle manufactured a defective product that presents an

 unreasonable risk that child users will become victims of child exploitation

 and online child sex abuse.

       48.   Omegle knowingly receives value for the ongoing online sexual

 exploitation of children on Omegle.com.




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       49.   Omegle knowingly receives value for the use of their product as a

 tool to abuse unsuspecting children on Omegle.com.

       50.   The disclaimers on Omegle.com indicate that Omegle knows

 about the improper, illegal, and illicit use of its website, including by

 children.

       51.   Omegle does not provide any guidance to parents who are trying

 to monitor their children’s use of their website. The warnings on Omegle.com

 are nothing but boilerplate window dressing.

       52.   Further, Omegle does nothing to properly verify users’ ages or

 prevent the use of Omegle.com by minors.

       53.   As a result of these failures, hundreds of thousands of minors

 who access Omegle.com are subject to sexual exploitation, child pornography

 and online abuse.

              C.H. Accesses Omegle.com and Becomes a Victim of
                          Child Sexual Exploitation

       54.   During the COVID-19 pandemic, C.H. was forced to attend school

 remotely and as such was provided with a Chromebook by her school.

       55.   At all relevant times, Omegle knew that child predators or

 “cappers” used Omegle.com to exploit children to create child sex abuse

 material and other illicit and illegal content—including through screen-




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 captured videos—and that this content was later shared on Omegle and other

 internet platforms.

       56.   At all relevant times, Omegle knowingly received value for the

 use of their product as a tool for child exploitation, child pornography, and

 child sex abuse.

       57.   On or about March 31, 2020, C.H. used her Chromebook to access

 the Omegle.com. C.H. had never used Omegle’s website before. C.H. was first

 paired to chat with a group of minors who appeared to be older than C.H.

 C.H. ended the chat with the group of minors and was placed in another chat.

       58.   Upon entering the second chat, C.H. encountered a black screen.

 Shortly thereafter C.H. began to see text being typed on the black screen.

       59.   This unknown user (“John”) informed C.H. that he knew where

 C.H. lived and provided C.H. with her geolocation. John also told C.H. that he

 knew that that there were cell phones and computers in C.H.’s house which

 he threatened to hack.

       60.   Scared and confused, C.H. pleaded with John to leave her alone.

       61.   John then instructed C.H. to remove all her clothing—including

 her underwear—and to touch, fondle, and masturbate her naked genitals in

 front of the camera. C.H. pleaded with John and offered gift cards to him in

 lieu of complying with his demands. John became more forceful with C.H.

 and demanded that she remove her clothing and display her genitals.


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 Eventually, C.H. complied with John’s demands, removed all her clothing,

 and touched herself sexually in accordance with the instructions she received

 from this stranger.

       62.   John recorded C.H.’s actions, forever memorializing her child sex

 abuse performance.

       63.   At all relevant times, Omegle knew of and collected profits, in the

 form of increased web traffic and advertising revenue, from fact that child

 predators like John—who are known to Omegle as “cappers”—took explicit

 screen grabs of children like C.H. and shared them online.

       64.   In early 2020, “cappers” such as John flocked to Omegle to take

 advantage of the unprecedented increase in opportunities to engage with

 unsupervised children online.

       65.   Immediately after this incident, C.H. notified her parents about

 what occurred and M.H. and J.H. reported the incident to law enforcement.

     Omegle Engaged in the Foregoing Acts Without Obtaining Verifiable
                            Parental Consent

       66.   Omegle enabled the collection, use, and disclosure of C.H.’s

 personally identifiable information and viewing C.H.’s data without notifying

 her parents.

       67.   Omegle never obtained verifiable parental consent to collect, use,

 or disclose C.H.’s personally identifiable information or viewing data.



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       68.   C.H. never knew that her personally identifiable information and

 viewing data could be collected, disclosed, or used, because at all times

 Omegle failed to provide C.H’s parents any of the required disclosures, never

 sought verifiable parental consent, and never provided any mechanism by

 which C.H’s parents could provide verifiable consent.

       69.   Omegle’s unlawful collection for commercial gain of C.H.’s

 personally identifiable information and viewing information exposed C.H.

 and others like her to online child predators.

                             CLAIMS FOR RELIEF

                         FIRST CLAIM FOR RELIEF
                      VIOLATION OF 18 U.S.C. § 2255(a)

       70.   Plaintiffs repeat, re–allege, and incorporate by reference all prior

 and subsequent paragraphs, including paragraphs ¶¶ 1 – 65, as if fully set

 forth herein.

       71.   18 U.S.C. § 2255, entitled “Civil Remedy for Personal Injuries,”

 provides that any person who is a victim of a violation of 18 U.S.C.

 § 2252A(a)(5)(B) and who suffers personal injury as a result of such violation

 shall recover the actual damages such person sustains or liquidated damages

 in the amount of $150,000 per victim, and reasonable attorney’s fees.




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       72.    Omegle violated the federal child pornography crime found at

 18 U.S.C. § 2252A(a)(5)(B) which provides that any person commits a federal

 crime who:

              knowingly possesses, or knowingly accesses with intent to
              view, any […] material that contains an image of child
              pornography that has been mailed, or shipped or
              transported using any means or facility of interstate or
              foreign commerce […] or that was produced using
              materials […] affecting interstate or foreign commerce by
              any means, including by computer.

       73.    C.H. suffered personal injury as a result of each of the

 Defendants’ violation of 18 U.S.C. § 2252A(a)(5)(B).

       74.    Plaintiffs intend to prove C.H.’s actual damages as a result of

 each of Omegle’s conduct.

       75.    At minimum, Plaintiffs intend to seek liquidated damages in the

 amount of $150,000 against Omegle, as well as the cost of the action,

 including reasonable attorney’s fees and other litigation costs reasonably

 incurred, prejudgment and post-judgment interest, and such other relief as

 the Court deems appropriate.

                        SECOND CLAIM FOR RELIEF
                   VIOLATION OF 18 U.S.C. §§ 1591 AND 1595

       76.    Plaintiffs repeat, re–allege, and incorporate by reference all prior

 and subsequent paragraphs, including paragraphs ¶¶ 1 – 72, as if fully set

 forth herein.



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       77.    Defendant knowingly used the instrumentalities and channels of

 interstate and foreign commerce to facilitate violations of 18 U.S.C.

 §§ 1591(a)(1) and 1595(a) occurring within the territorial jurisdiction of the

 United States.

       78.    Defendant’s conduct was in or affected interstate and/or foreign

 commerce.

       79.    Defendant knowingly benefited from participation in what it

 knew or should have known was a sex trafficking venture in violation of 18

 U.S.C. §§ 1591(a)(2) and 1595(a).

       80.    Defendant knowingly benefited from, and/or received value for

 participation in the venture in which Defendant knew C.H. would be forced to

 engage in commercial sexual acts while under the age of 18 years old.

       81.    In an interstate and international commercial effort, Omegle

 knowingly recruited, enticed, harbored, obtained, advertised, maintained,

 patronized, and/or solicited their users to create images of commercial sex

 acts that C.H. was forced to engage in while she was under the age of 18

 years old.

       82.    Defendant’s employees and/or agents had actual knowledge that

 they were facilitating and participating in a scheme to profit from the

 commercial sex acts of minor children, including C.H.




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       83.   Defendant knowingly benefited financially from the sex-

 trafficking venture and the exploitation of C.H.

       84.   Defendant’s conduct has caused C.H. serious harm including,

 without limitation, physical, psychological, financial, and reputational harm

 that is sufficiently serious, under all the surrounding circumstances, to

 compel a reasonable person of the same background and in the same

 circumstances to perform or to continue performing commercial sexual

 activity, in order to avoid incurring that harm.

       85.   Each of the Omegle’s conduct has caused C.H. serious harm

 including, without limitation, physical, psychological, financial, and

 reputational harm.

                    THIRD CLAIM FOR RELIEF
  VIOLATION OF THE VIDEO PRIVACY PROTECTION ACT 18 U.S.C. § 2710

       86.   Plaintiffs repeat, re–allege, and incorporate by reference all prior

 and subsequent paragraphs, including paragraphs ¶¶ 1 – 82, as if fully set

 forth herein.

       87.   Omegle is a “video tape service provider” subject to 18 U.S.C.

 § 2710(a)(4) of the Video Privacy Protection Act (“VPPA”). Omegle is “engaged

 in the business, in or affecting interstate or foreign commerce, of rental, sale

 or delivery of prerecorded video cassette tapes or similar audio-visual

 materials” by delivering videos recorded on its website.



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       88.   As a user of the website, C.H. is a consumer within the definition

 of 18 U.S.C. § 2710(a)(1) of the VPPA.

       89.   Omegle collected C.H.’s personally identifiable information (“PII”)

 within 18 U.S.C. § 2710 (a)(3).

       90.   Omegle disclosed PII to third-parties, including data brokers and

 advertisers, to generate revenue and profit.

       91.   Omegle failed to solicit and/or obtain consent from C.H. to collect

 and disclose her PII, nor did Omegle provide clear and conspicuous notice of

 the disclosure of PII, as defined in 18 U.S.C. § 2710 (b)(2)(B).

       92.   The knowing disclosures and transmission of PII violates the

 VPPA within the meaning of 18 U.S.C. § 2710 (b)(1).

       93.   Accordingly, C.H. is entitled under 18 U.S.C. § 2710(c)(2) to an

 award of damages (actual, liquidated, or punitive), reasonable attorneys’ fees,

 other litigation costs reasonably incurred, and such relief as the Court deems

 appropriate.

                         FOURTH CLAIM FOR RELIEF
                        INTRUSION UPON SECLUSION

       94.   Plaintiffs repeat, re–allege, and incorporate by reference all prior

 and subsequent paragraphs, including paragraphs ¶¶ 1 – 90, as if fully set

 forth herein.




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       95.   C.H. has a reasonable expectation of privacy when she is online,

 especially while she is at her home in her private dwelling space. C.H.’s

 private affairs include observation of her whether by voyeurs lurking outside

 her window or voyeurs peering into her room through a webcam.

       96.   C.H. zone of privacy extends to the surreptitious collection and

 tracking of her personally identifiable information and viewing data collected

 and aggregated by Omegle.com.

       97.   The reasonableness of such expectation of privacy is violated by

 Omegle’s unique ability to monitor C.H.’s behavior by accessing C.H.’s

 private devices. It is further violated by Omegle’s surreptitious highly-refined

 tracking of its website’s users through video.

       98.   Omegle intentionally intruded onto and into C.H.’s solitude,

 seclusion, and private affairs by intentionally designing its website to allow

 for the surreptitious and improper monitoring, review, and/or retention of

 C.H.’s activities through the technologies and activities described herein.

       99.   These intrusions are highly offensive to a reasonable person. This

 is evidenced by the legislation enacted by Congress, rules promulgated and

 enforcement actions undertaken by the FTC, and countless studies, op-eds,

 and articles describing and criticizing the online tracking of children. See 16

 U.S.C. §§ 6501-6505. Further, the extent of the intrusion cannot be fully

 known since the nature of privacy invasion involves sharing C.H’s personally


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 identifiable information and/or viewing data with potentially countless third-

 parties, known and unknown, for undisclosed and potentially unknowable

 purposes, in perpetuity.

       100.   C.H. was harmed by the intrusion into her private affairs as

 detailed throughout this Complaint.

       101.   Omegle’s actions and conduct complained of herein were a

 substantial factor in causing the harm suffered by C.H.

       102.   As a result of Omegle’s actions, Plaintiffs seek nominal and

 punitive damages in an amount to be determined at trial. Plaintiffs seek

 punitive damages because Omegle’s actions which were malicious,

 oppressive, and willful were calculated to injure C.H. and made in conscious

 disregard of her rights. Punitive damages are warranted to deter Omegle

 from engaging in future misconduct.

                            FIFTH CLAIM FOR RELIEF
                                 NEGLIGENCE

       103.   Plaintiffs repeat, re–allege, and incorporate by reference all prior

 and subsequent paragraphs, including paragraphs ¶¶ 1 – 98, as if fully set

 forth herein.

       104.   Omegle owed C.H. and the general public a duty to use ordinary

 care in designing, maintaining, and distributing its products and services to

 children.



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       105.   Omegle breached that duty because, among other things, it failed

 to take reasonable care to address the danger of dangerous “cappers” enticed,

 enabled, and encouraged to sexually abuse minor children on the platforms

 created by Omegle to “Talk to Strangers!” Omegle’s initial and continued

 design decisions regarding its platform are unreasonable and negligent.

       106.   Omegle owed C.H. and the general public a duty of care to

 provide a safe online community, especially since it knew that children were

 and would be accessing Omegle.com.

       107.   Omegle breached the duty of care by failing to implement

 adequate safety and security measures including monitoring its users’ age

 and ongoing monitoring of its users’ conduct while using its online service.

       108.   Omegle had an ongoing, non-delegable duty to continue to

 monitor, supervise, inspect, and assess the use of service and application to

 prevent the mistreatment of its users.

       109.   Omegle failed to prevent children from using its website despite

 its knowledge that its website was used by children; was inherently

 dangerous; and had been misused by sexual predators to groom and sexually

 abuse and exploit children.

       110.   Omegle further failed to interview, assess, inspect or otherwise

 check on the welfare of its users to ensure that they were not being harmed,




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 sexually abused, or otherwise mistreated and Defendant’s aforesaid failures

 enabled the tortious conduct experienced by C.H. to occur and continue.

        111.   As a direct and proximate result of Omegle’s breaches of the duty

 of care owed, C.H. was subjected to sexual exploitation by a stranger.

        112.   Omegle’s acts and omissions were committed wantonly, willfully,

 with reckless and/or callous disregard for the safety of its users including

 C.H.

        113.   As a result of the above negligence on the part of the Omegle,

 C.H. was caused to suffer severe and painful personal injuries, emotional

 distress, sexual misconduct, pain, suffering, and mental anguish all of a

 permanent nature.

        114.   By reason of the foregoing, Omegle is liable for compensatory

 damages and punitive damages, together with interests and costs.

                      SIXTH CLAIM FOR RELIEF
           INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

        115.   Plaintiffs repeat, re–allege, and incorporate by reference all prior

 and subsequent paragraphs, including paragraphs ¶¶ 1 – 106, as if fully set

 forth herein.

        116.   Omegle engaged in reckless, extreme, and outrageous conduct by

 failing to take reasonable precautions to prevent children from using its

 website and by failing to monitor its website and use of its website to ensure



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 that its users were not being sexually abused, mistreated, or exploited

 despite knowing that children were using its website and that its website was

 providing a forum for sexual predators to access children.

       117.   By its acts and omissions, Omegle intended to and did

 intentionally and recklessly cause C.H. to suffer severe emotional distress.

       118.   Omegle’s misconduct was so shocking and outrageous that it

 exceeds the reasonable bounds of decency as measured by what the average

 member of the community, and society as whole, would tolerate and

 demonstrates an utter disregard by Omegle of the consequences that

 followed.

       119.   Omegle’s misconduct was also engaged in with oppression or

 malice and was in conscious disregard for the rights and safety of others,

 including, but not limited to C.H., so as to warrant the imposition of punitive

 damages.

       120.   As a direct and proximate result of the Omegle’s conduct, a

 stranger gained access to C.H. and sexually exploited her. C.H. has suffered,

 and continues to suffer, severe emotional distress, for which she is entitled to

 an award of damages.

       121.   Omegle knew that this reckless, extreme, and outrageous conduct

 would inflict severe emotional and psychological distress, including personal




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 physical injury as a result, including severe mental anguish, humiliation and

 emotional and physical distress.

       122.   By reason of the foregoing, Omegle is liable for compensatory and

 punitive damages, together with interests and costs.

                       SEVENTH CLAIM FOR RELIEF
                    RATIFICATION/VICARIOUS LIABILITY

       123.   Plaintiffs repeat, re–allege, and incorporate by reference all prior

 and subsequent paragraphs, including paragraphs ¶¶ 1 – 123, as if fully set

 forth herein.

       124.   The use of the Omegle.com website for advertising, creating,

 posting, and sharing child sex abuse material was so pervasive and known to

 Omegle that it cannot be said that such conduct was so unforeseen so as to

 prevent the Omegle defendants from being vicariously liable for such conduct.

 Rather, the Omegle defendants knowingly aided and assisted the “cappers”

 who advertised, created, posted and shared the child sex abuse material

 online, and Omegle knowingly profited from that illegal activity.

       125.   The Omegle defendants are vicariously liable for the conduct of

 the “cappers” because they ratified their conduct, knowingly received the

 benefits of said conduct.




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        126.   The Omegle defendants are further vicariously liable for the conduct

 of the “cappers” because they created, developed, and maintained a forum to entice,

 encourage and enable the sharing of such conduct.

        127.   Give these circumstances, the Omegle defendants should be held

 vicariously liable for the actions of their “capers.”

                            EIGHTH CLAIM FOR RELIEF
                                PUBLIC NUSIANCE
        128.   Plaintiffs repeat, re–allege, and incorporate by reference all prior

 and subsequent paragraphs, including paragraphs ¶¶ 1 – 127, as if fully set

 forth herein.

        129.   Omegle created and developed a public nuisance Omegle.com

 which violates public rights, and subverts public order, decency, and morals.

        130.   Omegle’s public nuisance inconveniences and damages the

 general public, including Plaintiff.

                                PRAYER FOR RELIEF

        WHEREFORE, Plaintiffs respectfully requests that this Court enter a

 judgment in their favor against Omegle as follows:

        A.     granting preliminary and permanent injunctive relief to prohibit

 Omegle from continuing to engage in the unlawful acts and practices

 described herein;

        B.     awarding Plaintiffs compensatory, consequential, general, and

 nominal damages in an amount to be determined at trial;



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       C.     awarding actual damages pursuant to 18 U.S.C. § 2255(a);

       D.     in the alternative to actual damages, Plaintiffs request an award

 of liquidated damages in the amount of $150,000 from each of Omegle’s

 violations pursuant to 18 U.S.C. § 2255(a);

       E.     awarding punitive damages in an amount sufficient to punish

 Omegle and to deter others from like conduct pursuant to 18 U.S.C. § 2255(a)

 and the common law;

       F.     awarding reasonable attorney’s fees pursuant to 18 U.S.C.

 § 2255(a);

       G.     awarding pre-judgment and post-judgment interest;

       H.     granting such other preliminary and equitable relief as the Court

 determines to be appropriate pursuant to 18 U.S.C. § 2255(a);

       I.     granting any relief within the Court’s jurisdiction appropriate to

 the proof, whether or not demanded;

       J.     granting such other and further relief as the Court deems just

 and proper; and

       K.     ordering that the Court retain jurisdiction of this matter to

 ensure all forms of relief it deems appropriate.

                                 JURY DEMAND

       Plaintiffs hereby demand a trial by jury on all issues of fact and

 damages stated herein.


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 Dated: May 17, 2021
        New York, New York

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